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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION
                            www.flnb.uscourts.gov

In re:                                        Chapter 11

PRIORIA ROBOTICS, INC.                        Case No. 18-10018-KKS

         Debtor.
                                       /


                  DEBTOR’S APPLICATION FOR
    AUTHORIZATION TO EMPLOY STICHTER, RIEDEL, BLAIN &
     POSTLER, P.A. AS COUNSEL FOR DEBTOR IN POSSESSION,
   NUNC PRO TUNC TO PETITION DATE AND TO PAY A RETAINER

         PRIORIA ROBOTICS, INC., as debtor and debtor in possession (the

“Debtor”), respectfully requests that this Court authorize the employment of

Stichter, Riedel, Blain & Postler, P.A. (“Stichter Riedel”) as counsel for the

Debtor in the above-captioned case, nunc pro tunc to the Petition Date (as defined

below) and to pay a retainer. In support of the application, the Debtor respectfully

represents as follows:

                              Jurisdiction and Venue

         1.   This Court has jurisdiction to consider this Application pursuant to 28

U.S.C. §§157 and 1334.        The subject matter of this Application is a core

proceeding pursuant to 28 U.S.C. §157(b). Venue is proper before this Court

pursuant to 28 U.S.C. §§1408 and 1409.
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        2.   The statutory predicates for the relief requested herein are Section

327(a) of the Bankruptcy Code and Rule 2014 of the Federal Rules of Bankruptcy

Procedure.

                                  Background

        3.   On January 29, 2018 (the “Petition Date”), the Debtor filed its

Voluntary Petition for Relief under Chapter 11 of Title 11 of the United States

Code (the “Bankruptcy Code”).

        4.   The Debtor continues to operate its business and manage its property

as debtor in possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy

Code.

        5.   The Debtor is a pioneer in the development of robotics, next-

generation autopilot systems, data analytics, expert vision processing and

embedded intelligence that enables real time autonomous decision making

capabilities in its platforms. Customers include multiple United States Department

of Defense agencies, foreign militaries, United States government agencies

(NASA, DARPA), commercial mining/aggregate companies, and survey

companies.

                   Relief Requested and Grounds for Relief

        6.   The Debtor desires to employ Stichter Riedel to represent it in this

case.



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         7.   All of the attorneys at Stichter Riedel are qualified to practice in this

Court and are qualified to advise the Debtor on its relations with, and

responsibilities to, the creditors and other interested parties in this case. Stichter

Riedel has substantial experience in representing debtors in Chapter 11 bankruptcy

cases.

         8.   The services to be rendered by Stichter Riedel include, but are not

limited to, the following:

              a.    rendering legal advice with respect to the Debtor’s
                    powers and duties as debtor in possession, the continued
                    operation of the Debtor’s business, and the management
                    of its property;

              b.    preparing on behalf of the Debtor necessary motions,
                    applications, orders, reports, pleadings, and other legal
                    papers;

              c.    appearing before this Court and the United States
                    Trustee to represent and protect the interests of the
                    Debtor;

              d.    assisting with and participating in negotiations with
                    creditors and other parties in interest in formulating a
                    plan of reorganization, drafting such a plan and a related
                    disclosure statement, and taking necessary legal steps to
                    confirm such a plan;

              e.    representing the Debtor in all adversary proceedings,
                    contested matters, and matters involving administration
                    of this case;

              f.    representing the Debtor in negotiations with potential
                    financing sources and preparing contracts, security



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                   instruments, or other documents necessary to obtain
                   financing; and

             g.    performing all other legal services that may be necessary
                   for the proper preservation and administration of this
                   Chapter 11 case.

      9.     It is necessary for the Debtor to employ counsel to perform the above-

mentioned services.

      10.    To the best of the Debtor’s knowledge, neither Stichter Riedel nor its

attorneys has any connection with non-insider creditors of the Debtor, other parties

in interest, or their respective attorneys. Neither Stichter Riedel nor its attorneys

represent any interest adverse to the Debtor or to the estate with respect to the

matters upon which it is to be employed by the Debtor.

      11.    The Debtor has agreed to compensate Stichter Riedel on an hourly

basis in this case in accordance with Stichter Riedel’s ordinary and customary rates

which are in effect on the date the services are rendered, subject only to approval

of this Court. The Debtor understands that Stichter Riedel’s hourly rates are

subject to periodic adjustments to reflect economic and other conditions.

      12.    The Debtor is filing a motion to obtain financing to pay Stichter

Riedel a retainer of $30,000.00 (the “Retainer”) and this application requests

authority to pay the Retainer to Stichter Riedel.




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      13.    The Debtor has also agreed to reimburse Stichter Riedel for the actual

and necessary expenses Stichter Riedel incurs in connection with this

representation.

      14.    Attached to this Application as Exhibit A and incorporated herein by

reference is the Affidavit of Scott A. Stichter demonstrating that Stichter Riedel

and its attorneys are disinterested as required by Section 327(a) of the Bankruptcy

Code and Rule 2014 of the Federal Rules of Bankruptcy Procedure.

      15.    Bankruptcy Rule 6003 provides that, except to the extent that relief is

necessary to avoid immediate and irreparable harm, the Court shall not, within

twenty (20) days after the filing of the voluntary petition, grant relief regarding an

application under Bankruptcy Rule 2014.             The Debtor submits that, absent

representation by Stichter, Riedel as of the Petition Date, it will suffer immediate

and irreparable harm because it needs representation by counsel to proceed in this

Court. Therefore, pursuant to Bankruptcy Rule 6003, interim relief is appropriate

pending final approval of this Application. Consequently, the Debtor requests that

the Court enter an order approving this Application subject to any party in interest

filing an objection and request for hearing prior to or on the 20th day after the

Petition Date and, if no such objection and request for hearing is timely filed with

the Court, providing that such order shall become final on the 21st day after the

Petition Date.



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                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Debtor’s

Application for Authorization to Employ Stichter, Riedel, Blain & Postler, P.A. as

Counsel for Debtor in Possession, Nunc Pro Tunc to Petition Date and to Pay a

Retainer has been furnished on this 9th day of February, 2018, by either direct

electronic mail or U.S. mail to:

20 Largest Unsecured Creditors

and

      Jodi Daniel Cooke
       jcooke@srbp.com;jcookeecf@srbp.com;lhathaway@srbp.com,
       lhathaway@srbp.com;jcooke.ecf@srbp.com
      Charles F. Edwards charles.edwards@usdoj.gov
      Scott A. Stichter sstichter.ecf@srbp.com
      United States Trustee USTPRegion21.TL.ECF@usdoj.gov



                                      /s/ Scott A. Stichter
                                      Scott A. Stichter (FBN 0710679)
                                      Stichter Riedel Blain & Postler, P.A.
                                      110 East Madison Street, Suite 200
                                      Tampa, Florida 33602
                                      Telephone: (813) 229-0144
                                      Email: sstichter@srbp.com
                                      Attorneys for Debtor




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                                                          Inc 34 Filed 02/09/18                    Page*Bank
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1129-1                                       P.O. Box 534963                                              PO Box 15796,
Case 18-10018-KKS                            Atlanta, GA 30353-4963                                       Wilmington, DE 19886-5796
Northern District of Florida
Gainesville
Fri Feb 9 13:00:09 EST 2018
*Christopher L Jacobs                        *City of Gainesville                                         *Cushnoc Group, LLC
222 Crooked Tree Trail                       Billing and Collection                                       PO Box 498038
Deland, FL 32724-3426                        P.O. Box 490, STA 47                                         Cincinnati, OH 45249-7038
                                             Gainesville, FL 32627-0490


(p)DELL FINANCIAL SERVICES                           *Demmer Corporation                                  *Fidelity Investments
P O BOX 81577                                        24830 Network Place                                  PO Box 73307
AUSTIN TX 78708-1577                                 Chicago, IL 60673-1248                               Chicago, IL 60673-7307



*Florida Dept of Economic Opportunity                *Gilligan, Gooding & Franjola, P.A.                  *Global Capital Markets Incorporated
107 East Madison Street                              1531 SE 36th Avenue                                  19100 Von Karman Ave, #950
Tallahassee, FL 32399-6508                           Ocala, FL 34471-4936                                 Irvine, CA 92612-6583



*HSH Analytics LLC                                   *Hutchison Law Group                                 (p)IPFS CORPORATION
PO Box 676                                           3110 Edwards Mill Rd Ste 300                         30 MONTGOMERY STREET
Hartwood, VA 22471-0676                              Raleigh, NC 27612-5419                               SUITE 1000
                                                                                                          JERSEY CITY NJ 07302-3865


*Ramsey UAS Consulting                               *Southern Strategy Group                             *UF (MIST) Board of Trustees
6009 Macon Circle                                    PO Box 10570                                         UF Office of Research
Huntsville, AL 35802-1929                            Tallahassee, FL 32302-2570                           33 Tigert Hall
                                                                                                          PO Box 113001
                                                                                                          Gainesville, FL 32611-3001

*University of Florida Board of Trustees             *Wells Fargo Revolving Credit                        *WinTec Arrowmaker, Inc.
Contracts and Grants                                 PO Box 6426,                                         12821 Old Fort Road Suite 302
PO Box 113001                                        Carol Stream, IL 60197-6426                          Fort Washington, MD 20744-2837
Gainesvile, FL 32611-3001




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


*Dell Business Credit                                *IPFS Corporation                                    End of Label Matrix
P.O. Box 5275                                        900 Ashwood Parkway Suite 370                        Mailable recipients      20
Carol Stream, IL 60197-5275                          Atlanta, GA 30338                                    Bypassed recipients       0
                                                                                                          Total                    20
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                    EXHIBIT A
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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION
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In re:                                       Chapter 11

PRIORIA ROBOTICS, INC.                       Case No. 10018-KKS

         Debtor.
                                       /


              AFFIDAVIT IN SUPPORT OF DEBTOR’S
         APPLICATION FOR AUTHORIZATION TO EMPLOY
    STICHTER, RIEDEL, BLAIN & POSTLER, P.A. AS COUNSEL FOR
    DEBTOR IN POSSESSION, NUNC PRO TUNC TO PETITION DATE

STATE OF FLORIDA
COUNTY OF HILLSBOROUGH

         BEFORE ME, the undersigned authority, personally appeared Scott A.

Stichter, an attorney with the firm of Stichter, Riedel, Blain & Postler, P.A., who,

being duly sworn, submits the following statement in compliance with 11 U.S.C.

§§ 327, 328 and 329 and Bankruptcy Rules 2014 and 2016 and deposes and says:

         1.    I am Scott A. Stichter. I am an attorney employed by the law firm of

Stichter, Riedel, Blain & Postler, P.A. (“Stichter Riedel”), which is located at 110

East Madison Street, Suite 200, Tampa, Florida 33602. I am duly authorized to

practice law in the State of Florida and am admitted to the bar of the United States

District Court for the Northern District of Florida, as are most other attorneys with

Stichter Riedel. Stichter Riedel and I represent the Debtor in this Chapter 11 case.
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It is anticipated that Stichter Riedel will staff the case with senior and junior

attorneys, as well as paralegals, depending upon the skill and experience required,

the difficulty of the particular project, and the client’s desires.

       2.     Unless otherwise stated, this Affidavit is based upon facts of which I

have personal knowledge.

       3.     This Affidavit is submitted in order to comply with 11 U.S.C. §§327,

328 and 329, and Bankruptcy Rules 2014 and 2016.

       4.     In preparing this affidavit, I reviewed a list of creditors of the Debtor.

       5.     Stichter Riedel was contacted to advise Prioria Robotics, Inc. (the

“Debtor”) with respect to various legal and financial issues. Prior to the Petition

Date, Stichter Riedel did not receive a retainer from the Debtor. Stichter Riedel

performed legal services for the Debtor beginning in January 2018. All such services

were performed in connection with or were related to the filing of the Chapter 11

case of the Debtor.

       6.     To the best of my knowledge, formed after reasonable inquiry, no

attorney employed by Stichter Riedel holds any interest adverse to the Debtor, its

estate, or any other parties in interest.

       7.     No attorney employed by Stichter Riedel holds a direct or indirect

equity interest in the Debtor, or any of its affiliates, and no such attorney has any

right to acquire such an interest.



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      8.     No attorney employed by Stichter Riedel now holds, or has ever held,

a direct or indirect equity interest (including stock, stock warrants or a partnership

interest) in the Debtor, and no such attorney now has, nor has ever had, any right to

acquire such an interest.

      9.     No attorney in Stichter Riedel is now, or has ever served in the past,

as an officer, director or employee of the Debtor.

      10.    No attorney in Stichter Riedel is, or has ever been, in control of the

Debtor or is a relative of a director, officer or person in control of the Debtor.

      11.    No attorney in Stichter Riedel is, or has ever been, a general or limited

partner of a partnership in which the Debtor is also a general or limited partner.

      12.    No attorney in Stichter Riedel is, or has ever served as, an officer,

director or employee of a financial advisor which has been engaged by the Debtor

in connection with the offer, sale or issuance of a security of the Debtor.

      13.    No attorney in Stichter Riedel has ever represented a financial advisor

of the Debtor in connection with the offer, sale or issuance of a security of the

Debtor.

      14.    To the best of my knowledge, no attorney in Stichter Riedel presently

represents any creditor, general partner, lessor, lessee, party to an executory

contract with the Debtor, or person otherwise adverse to the Debtor or the estate,

on any matter related to the Debtor or its estate. Stichter Riedel does not believe



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